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FILED

UNITED STATES DISTRICT COURT

FOR THE DISTRICT 0F COLUMBIA JUN 08 2018
UNITED sTATEs oF AMERICA : m ii»`?in?iii;iri§ ml',‘,’,,'§,’,
v. Criminal No. 18-Cr-101(TSC)
NICHOLAS BUKOSKI n
Defendant.
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Upon consideration that the defendant appeared in the United States District Court for the
District of Columbia pursuant to a Writ of Habeas Corpus Ad Prosequendum on June 8, 2018, and
was directed to be returned from whence he came upon the conclusion of the proceedings, it is
ordered that the proceedings have not concluded and a detention hearing will be held on June 13,
2018.

The defendant was returned to the Anne Arundel County Detention Center before the
conclusion of the detention hearing because his medication was not transported with him to the
District of Columbia.

It is hereby ORDERED that the United States Marshal shall produce, NICHOLAS
BUKOSKI (l\/Iaryland Division of Corrections No. l\/ID 4656032 and ) for a
continuation of his detention hearing on June 13, 2018, before the Honorable Deborah A. Robinson
at 1:30 pm in the United States District Court for the District of Columbia. All medication and
medical instructions shall be transported with the defendant and will be returned when he is
returned at the conclusion of the detention hearing and local booking process.

lt is this gay OfJune, 2018, so oRDERED.

l\/Iagistrate Judge Robin I\[I. Meriweather

 

 

 

